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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

SHABTAI SCOTT SHATSKY, et al., )
)
Plaintiffs, )
)
v. ) Civil Case No. 02-2280 (RJL)
)
PALESTINE LIBERATION ORGANIZATION )
and PALESTIN!AN AUTHoRITY, ) F I L E D
)
Defendants. ) jUN 2 0 2017
C|ark. U.S. Dlstrict & Bankruptcy
Q‘L QRDER courts for me D\stricr of columbia

(June _2;0_, 2017) [Dkts. ##247, 340]

F or all the reasons set forth in the Memorandum Opinion accompanying this Order,
it is hereby

ORDERED that plaintiffs’ Motion to Strike Defendants’ Personal Jurisdiction
Argument from Defendants’ Supplernental Brief in Support of Surnmary Judgment and for
Leave to File Supplernental Surnmary Judgment Brief`ing [Dkt. #340] is DENIED; and it
is further

ORDERED that defendants’ Motion for Summary Judgment [Dkt. #247] is
GRANTED; and it is further

ORDERED that judgment is entered for the defendants

SO ORDERED.

§ r
RICHARD J; L bN
United States`District Judge

